                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN DOE,                                         )
                                                  )          Case No. 17-cv-6583
               Plaintiff,                         )
       v.                                         )          Judge Robert M. Dow, Jr.
                                                  )
NORTHWESTERN UNIVERSITY,                          )
                                                  )
               Defendant.                         )



                                   STIPULATED DISMISSAL
        John Doe (“Doe”) and Northwestern University (“Northwestern”), through their
respective attorneys of record, stipulate as follows:

       Doe and Northwestern are entering into this Stipulation in order to conclude their dispute
without the necessity of further court proceedings.

       Plaintiff dismisses his claims in this action with prejudice pursuant to Fed. R. Civ. P.
41(a)(1)(A)(ii).

       Doe and Northwestern stipulate to the dismissal of this action with prejudice.

Date: January 30, 2017                            Respectfully Submitted,
s/ Jonathan M. Cyrluk                  s/ Adam L. Hoeflich

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Attorneys for Plaintiff
                           CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on November 21, 2017, he

electronically filed the foregoing Stipulation of Dismissal with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to the following

attorneys:

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                                                  /s/ Adam L. Hoeflich
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